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Attorneys for Defendants


              IN THE UNITED STATES DISTRICT COURT
       IN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


ESTHER ISRAEL,                              REPLY MEMORANDUM IN
                                            SUPPORT OF MOTION FOR
                           Plaintiff,      EXTENSION OF TIME TO FILE
                                              DISPOSITIVE MOTION
v.

UNIVERSITY OF UTAH, DONALD                       Case No. 2:15-cv-00741
STEVEN STRASSBERG, JORDAN
ELIZABETH RULLO, JULIA                             Judge Ted Stewart
MACKARONIS, KELLY KINNISH                   Magistrate Judge Paul M. Warner
and MICHAEL MINER.


                           Defendants.


      Defendants Donald Steven Strassberg, Jordan Elizabeth Rullo, Julia

Mackaronis, Kelly Kinnish and Michael Miner, by and through counsel, Kyle J.
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Kaiser, Assistant Utah Attorney General, provide the following Reply

Memorandum in support of their request for a one-week extension of time to file

their Motion for Summary Judgment.

      Federal Rule of Civil Procedure 6(b)(1)(A) allows a court to extend the time

for an act if the request is made before the original time expires and on good cause

shown. A party must demonstrate “some justification for the issuance of the

extension. However, an application for extension of time under Rule 6(b)(1)(A)

normally will be granted in the absence of bad faith on the part of the party seeking

relief or prejudice to the adverse party.” 4B Wright, Miller, Kane, Marcus,

Spencer, and Steinman, Fed. Prac. & Proc. Civ. § 1165 (4th ed.). Defendants

requested the extension before the deadline and provided two justifications for it.

And Ms. Israel will not be prejudiced by the issuance of the extension.

      Ms. Israel’s arguments in opposition are unavailing. She alleges that she

was only provided 9 hours to respond to the extension request. Yet, “notice to the

adverse party is [not] expressly required by the rule.” Id. And Counsel for

Defendants believed it prudent to file the motion as soon as Counsel realized it was

needed, rather than wait for a potential response (particularly because of the

intervening weekend.) Counsel waited as long as practicable for a response from




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Ms. Israel before filing the motion, and the relatively short response period should

not foreclose the extension.

      Second, Ms. Israel alleges that Counsel for Defendants “has provided no

procedural accommodations for Plaintiff….” That is simply untrue. Ms. Israel

requested an extension of time for discovery, and Defendants did not oppose it.

(Doc. 52.) Defendants are willing to extend the time for Ms. Israel to respond to

the Motion for Summary Judgment. (Ex. A. to Doc. 65.) Defendants did not agree

to allow Ms. Israel to amend her complaint because the proposed amended

complaint contained legally insufficient, and procedurally barred, claims. This

Court agreed. (See Doc. 62.) Ms. Israel was asking for a substantive

accommodation, the granting of which would have been highly prejudicial for

Defendants, not simply correcting a “failure[] to include all claims in the original

complaint.” (Doc. 65 at 2.) This argument is unavailing.

      Accordingly, and for the reasons stated, Defendants respectfully request that

the Court grant their motion and provide an extension, up to and including April

10, 2018 for Defendants to file their dispositive motion.




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      DATED: April 3, 2018.

                         OFFICE OF THE UTAH ATTORNEY GENERAL

                         /s/ Kyle J. Kaiser
                         KYLE J. KAISER
                         Assistant Utah Attorney General
                         Attorney for Defendants




                         CERTIFICATE OF MAILING

      I certify that on April 3, 2018, I electronically filed the foregoing REPLY
MEMORANDUM IN SUPPORT OF MOTION FOR EXTENSION OF TIME
TO FILE DISPOSITIVE MOTION, and Proposed Order thereto, using the
Court’s CM/ECF system. I also certify that a true and correct copy of the foregoing
was electronically mailed to the following:

      Esther Israel
      estherisrael@yahoo.com
      Pro Se

                                              /s/Shykell Ledford




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